                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                                               )
    KENNETH D. BELL, in his capacity as court-                 )
    appointed Receiver for Rex Venture Group, LLC              )
    d/b/a ZeekRewards.com,                                     )
                                                               )
                               Plaintiff,                      )
                                                               )
                vs.                                            )
                                                               )
    TODD DISNER, in his individual capacity and in his         )
    capacity as trustee for Kestrel Spendthrift Trust;         )
    TRUDY GILMOND; TRUDY GILMOND, LLC;                         )              No. 3:14-cv-91
    JERRY NAPIER; DARREN MILLER; RHONDA                        )
    GATES; DAVID SORRELLS; INNOVATION                          )
    MARKETING, LLC; AARON ANDREWS; SHARA                       )
    ANDREWS; GLOBAL INTERNET FORMULA,                          )
    INC.; T. LEMONT SILVER; KAREN SILVER;                      )
    MICHAEL VAN LEEUWEN; DURANT                                )
    BROCKETT; DAVID KETTNER; MARY                              )
    KETTNER; P.A.W.S. CAPITAL MANAGEMENT                       )
    LLC; LORI JEAN WEBER; and a Defendant Class                )
    of Net Winners in ZEEKREWARDS.COM;                         )
                                                               )
                               Defendants.                     )




          ORDER ON PROCESS FOR DETERMINING THE AMOUNT OF FINAL
              JUDGMENTS AGAINST NET WINNER CLASS MEMBERS


        On November 29, 2016, this Court entered an ORDER (Doc. No. 142) granting the motion
of Kenneth D. Bell, the court-appointed Receiver for Rex Venture Group, LLC (“RVG”), for
Summary Judgment Against Remaining Named Defendants and Partial Summary Judgment
Against the Net Winner Class (“Summary Judgment Order”). Pursuant to the Summary Judgment
Order, the Court has now entered Final Judgments against each of the named Defendants in the
amount of their net winnings from the ZeekRewards scheme. See, e.g., Doc. Nos. 148-151.1 In
entering Final Judgments against the Named Defendants, the Court relied on the sworn testimony
of the Receiver’s expert witness, David Turner, and his calculation of the net winnings attributable

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  The Court also awarded pre-judgment interest from August 2012, when the ZeekRewards
scheme ended and the Receiver was appointed.


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to each of the Named Defendants based on the available books and records of the RVG
Receivership. See Doc. # 134-47, p.43.

        In the Summary Judgment Order, the Court also entered partial summary judgment against
the Net Winner Class, finding that the net winnings they received from ZeekRewards were
fraudulent transfers that must be repaid to the Receiver and are subject to a constructive trust for
the benefit of the Receivership Estate. The only issue now remaining before the Court with respect
to the Net Winner Class is how to fairly and efficiently determine the amount of the Final Judgment
(ZeekRewards net winnings plus pre-judgment interest) to be paid by each member of the class.2

        The Receiver has proposed a process, described below, for determining the amount of the
Final Judgment to be entered against each member of the Net Winner Class in accordance with the
Summary Judgment Order. Counsel for the Net Winner Class has stated that the Net Winner Class
has no objection to that proposed process. Accordingly, the process for determining the amount of
the Final Judgment to be entered against each member of the Net Winner Class shall be as follows:


    1. The amount of net winnings (“Net Winnings”) received by each Net Winner Class member
       shall be calculated in the same manner as the Final Judgments entered against the named
       Net Winners in this action. See Doc. # 134-47, p.43; Doc. Nos. 148-151. Specifically, Net
       Winnings shall be calculated as total cash paid-out by RVG less outside cash (excluding
       reinvested funds generated as part of the ZeekRewards Program) used to purchase VIP
       bids, retail bids, and subscriptions (VIP bids + Retail bids + Subscriptions). Each Net
       Winner Class member’s net winnings shall be the total amount of the net winnings
       associated with their respective usernames,3 aggregated first by matching usernames with
       the same valid nine-digit Social Security numbers (SSN) in the ZeekRewards database and
       then including additional usernames associated with the same class member based upon
       the “Payee” field in the ZeekRewards database.

    2. On or before January 31, 2017, the Receiver shall notify each Net Winner Class member
       of the amount of their ZeekRewards Net Winnings as reflected in the available books and
       records of the RVG Receivership.

    3. The Receiver shall notify each member of the Net Winner Class of the amount of their Net
       Winnings by email to the email address provided by the net winner in connection with any
       account included in determining the amount of Net Winnings as well as any other email
       address that has been provided by the net winner following the appointment of the
       Receiver. The Receiver shall also post a link on the Receivership website that allows class
       members to receive notification of the amount of their Net Winnings. In the event that the

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  As previously ordered, the Net Winner Class includes all domestic (United States) persons and
entities who participated in ZeekRewards and received at least $1000 in excess of the funds they
invested in the ZeekRewards program.
3
 In ZeekRewards, a specific individual account was referred to as a “username.” An
individual’s username was unique to their account and used to track all of their ZeekRewards
activity.
                                                 2

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       notice cannot be delivered to any email address provided by the Net Winner, the Receiver
       shall send a letter to the last known physical address of the Net Winner informing the Net
       Winner of the proceedings and the availability of the amount of his or her Net Winnings
       on the Receivership website.4

    4. Class Counsel for the Net Winner Class shall (i) post a notice on the Net Winner Class
       website describing the process set forth herein and (ii) communicate to the Net Winner
       Class the availability from the Receiver of the Net Winnings amount for each class
       member. Class Counsel shall not be required to provide the amount of Net Winnings to
       each class member or otherwise communicate with class members. The Court finds these
       multiple means of notice to be fair, appropriate and the best notice that is practicable under
       the circumstances.

    5. On or before March 31, 2017 (or at least 60 days following the initial email transmittal of
       the Net Winning amounts to class members if the Receiver’s email notice occurs after
       January 31, 2017), each class member shall, if they choose to do so, respond to the
       calculation of their Net Winnings from the RVG records. The response must be in writing
       (sent to the Receiver either electronically or by mail to the email and mail addresses
       designated in the Receiver’s notice of the Net Winner Class member’s net winnings) and
       must include:

               1) The Net Winner Class member’s specific proposed alternative calculation (in
                  US$) of Net Winnings; and

               2) Evidence supporting the alternative calculation, including, without limitation,
                  independent documentation (such as bank records).

               3) In responding to the Receiver’s calculation of their Net Winnings, Net Winner
                   Class members must “set forth specific facts that go beyond the mere
                   existence of a scintilla of evidence.” Glynn v. EDO Corp., 710 F.3d 209, 213
                   (4th Cir. 2013). See also, DiQuollo v. Prosperity Mortg. Corp., 984 F.Supp.
                   2d 563, 570 (E.D. Va. 2013)(“the law is well established that uncorroborated,
                   self-serving testimony of a plaintiff is not sufficient to create a material
                   dispute of fact ….”). They cannot “solely rely on mere [] denials . . . .” Id.

       In calculating any alternate amount of Net Winnings, a Net Winner Class member may
       only include money paid into RVG / ZeekRewards and received from ZeekRewards for the
       particular class member’s usernames (as defined above). No “expenses” or other “setoffs”
       are permitted to be deducted from this amount, including but not limited to, expenses
       alleged to have been incurred in participating, promoting, recruiting other participants,


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 Because ZeekRewards scheme was primarily operated through online and electronic
communications, the RVG records include a more robust database of electronic addresses.
Accordingly, the initial reliance of this notification process on email mirrors the notification
process used by the Receiver to notify and communicate with the victims of the ZeekRewards
scheme related to presenting and approving claims for reimbursement of their losses.
                                                 3

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       paying for the accounts of others or loaning money to other participants. See Summary
       Judgment Order at 23-24; Order dated January 14, 2015, Doc. No. 98, at 7-8 (denying as a
       matter of law counterclaim by net winners to “setoff” alleged costs and expenses incurred
       as a Zeek Affiliate).

    6. Final Judgment shall be entered against any Net Winner Class member who does not
       respond to the Receiver’s calculation of their Net Winnings on or before the response
       deadline in the amount of their Net Winnings as calculated by the Receiver plus
       prejudgment interest, calculated at the North Carolina statutory rate of 8% per annum from
       August 17, 2012, which is on or after the date of the last fraudulent transfer payment to
       each Defendant, to November 29, 2016, the date of the Summary Judgment Order in this
       action. See N.C. Gen. Stat. § 24-4, 5 (2001); Doc. #142.

    7. For all Net Winner Class members who timely provide alternate Net Winnings calculations
       to the Receiver, on or before May 15, 2017 (or 45 days after the deadline for submission
       of responses if not March 31, 2017), the Receiver shall respond to the alternate calculation,
       indicating agreement or disagreement with the alternate calculation. If the Receiver agrees
       with the alternate calculation then a final Judgment shall be entered against that class
       member in the amount of Net Winnings calculated by the class member plus prejudgment
       interest, calculated at the North Carolina statutory rate of 8% per annum from August 17,
       2012, which is on or after the date of the last fraudulent transfer payment to each Defendant,
       to November 29, 2016, the date of the Summary Judgment Order in this action.

    8. In the event that the Receiver does not agree to the Net Winner’s alternate calculation, the
       Receiver shall attempt on or before May 15, 2017 (or 45 days after the deadline for
       submission of responses if not March 31, 2017) to resolve the amount of Net Winnings
       through negotiations with that Net Winner.

    9. If the amount of a Net Winner Class member’s amount of Net Winnings has not been
       resolved during the negotiation period, the matter may, at the request of the Receiver or
       the Net Winner and contingent upon acceptance of the terms of referral described below,5
       be referred to Retired Judge Frank W. Bullock, Jr. of the United States District Court for
       the Middle District of North Carolina, who was previously Appointed as a Special Master
       to resolve Claim Determinations in the related matter of Securities and Exchange
       Commission v. Rex Venture Group, LLC d/b/a ZeekRewards.com and Paul Burks, Civil
       Action No. 3:12-cv-519 (the “SEC Action”) and is hereby appointed a Special Master in
       this action.

    10. The Court finds that an exceptional condition warranting a Special Master exists in this
        Case in regard to the issues on which Judge Bullock will preside as a Special Master. The
        Special Master process is needed to provide a simple, efficient and expeditious process for
        the Receiver and the thousands of members of the Net Winner Class to resolve any disputes
        over the individual Net Winnings calculations. Also, here, as in the Claims Determination

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  If neither the Receiver nor the Net Winner refer the question of the amount of a net winner’s
Net Winnings to the Special Master, then the normal procedures of the Court, including, but not
limited to, the Receiver’s right to seek Summary Judgment, shall be used to resolve the amount.
                                                 4

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       process in the SEC Action, the members of the Net Winner Class hold no jury trial right
       with respect to the determination of whether a disputed issue of material fact exists as to
       the amount of their Net Winnings or as to a voluntarily binding or required non-binding
       determination of the amount of those Net Winnings.

    11. The Special Master shall file the affidavit required by Rule 53(b)(3)(A) within ten (10) days
        after the entry of this Order. Further, the duties and powers of the Special Master shall be
        limited to those duties and powers described herein. The Special Master shall not have the
        power to issue any orders or impose any sanctions.

    12. Net Winners may refer matters to the Special Master (through a “Request for
        Intervention”) on or before June 15, 2017 (or 30 days after the negotiation period described
        in paragraph 8 ends if later). The Receiver may make referrals to the Special Master at any
        time on or before July 15, 2017. The Request for Intervention must be made in writing by
        the deadline date and served via electronic mail to the opposing person or entity and the
        Special Master.6 Net Winners may hire counsel at their own expense to represent them
        with respect to the Request for Intervention and subsequent proceedings before the Special
        Master without making an appearance in this action.7

    13. If a party chooses to take advantage of the opportunity to refer the decision on the amount
        of a Net Winner’s Net Winnings to the Special Master then that party must voluntarily
        agree to accept the Special Master’s decision as binding if the other party similarly agrees
        to accept the Special Master’s decision.

    14. The Request for Intervention must include the following:

           a. A statement requesting the referral of the sole question of the amount of the Net
              Winner’s Net Winnings to the Special Master;
           b. A statement specifically stating the referring party’s voluntary agreement that the
              Special Master’s decision will be binding if the other party agrees to accept the
              Special Master’s decision; and
           c. A statement of no more than five (5) pages in length setting forth the Net Winner’s
              or the Receiver’s position, as the case may be, with respect to the amount of the
              Net Winnings received by the Net Winner and the evidence and argument in
              support of that position (the “Position Statement”).

    15. Within 30 days after receiving or making the Request for Intervention, the Receiver shall
        make available to the Special Master the information supporting the parties’ respective
        positions previously provided pursuant to the Notice and response obligations described
        above (i.e., the information in the ZeekRewards database relating to the calculation of the
        relevant Net Winnings, the amount the Net Winner asserts he or she paid in to


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  The Receiver shall inform Net Winners of the Special Master’s email address during the
negotiation process or upon request from a Net Winner.
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  However, any representation of a Net Winner in Court pleadings or proceedings in this action
shall be governed by the applicable Federal Rules of Civil Procedure and the Local Rules of this
Court.
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       ZeekRewards, the amount of payments the Net Winner claims he or she was paid by
       ZeekRewards and any backup submitted).

    16. Further, the party who did not file the Request for Intervention shall provide to the
        Special Master and serve on the opposing person or entity by electronic mail a written
        statement of no more than five (5) pages in response to the referring party’s Position
        Statement (“Reply Statement). In response to the referring party’s request that the Special
        Master’s decision be binding, the Reply Statement must state whether or not the replying
        party agrees that the decision will be binding.

    17. In the event that a Net Winner fails to timely serve a Reply Statement then the Special
       Master shall issue a decision against that class member in the amount of Net Winnings
       calculated by the Receiver plus prejudgment interest, calculated at the North Carolina
       statutory rate of 8% per annum from August 17, 2012, which is on or after the date of the
       last fraudulent transfer payment to each Defendant, to November 29, 2016, the date of the
       Summary Judgment Order in this action. In the event that the Receiver fails to provide
       the required information or a Reply Statement then the Special Master shall issue a
       decision in favor of the Net Winner.8

    18. Upon receipt of the Position Statement, the Reply Statement and the supporting
        information, the Special Master shall review this information and, at his discretion, hold
        a hearing lasting no more than 2 hours (unless otherwise agreed by the Special Master and
        all parties) where the Receiver and/or the Claimant may produce additional evidence
        regarding the Net Winner’s amount of Net Winnings. Attendance at such hearing shall not
        be required. Entities may attend the hearing by telephone or other electronic means.

    19. After the conclusion of such hearing, the Special Master will serve, via electronic mail, a
        written decision (the “Decision”) setting forth his findings regarding whether there are
        any disputed issues of material facts related to the amount of the Net Winner’s Net
        Winnings and his finding as to the amount of those Net Winnings.

    20. If both the Receiver and Net Winner have voluntarily agreed that the Special Master’s
        determination is binding, then the Court shall enter a final Judgment against that class
        member in the amount of Net Winnings calculated by the Special Master plus
        prejudgment interest, calculated at the North Carolina statutory rate of 8% per annum
        from August 17, 2012, which is on or after the date of the last fraudulent transfer
        payment to each Defendant, to November 29, 2016, the date of the Summary Judgment
        Order in this action.

    21. If the parties did not agree that the Special Master’s decision would be binding, then
       both the Receiver and Net Winner Class member shall have 30 days from the date of
       service of the Decision via electronic mail to file an appeal of the Decision with this Court

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 In light of the possibility of numerous referrals to which the Receiver may be otherwise
required to respond to at or about the same date, the Special Master may, in his discretion, grant
an extension of time to the Receiver to serve the required information or a Reply Statement
related to a particular Net Winner.
                                                 6

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   (an “Appeal”). Following Appeal, this Court shall, after providing appropriate notice and
   an opportunity to be heard, exercise its judgment and discretion to either accept the
   Decision and enter the appropriate Final Judgment (if the Special Master finds that there
   is no disputed issues of material fact regarding the amount of Net Winnings) or hold
   further proceedings to resolve the amount of the class member’s Net Winnings, which
   shall include, if appropriate, the opportunity for either party to request a trial by jury of
   all issues properly triable by jury.

22. The Special Master may engage in ex parte communications with the Court concerning
    all matters related to his appointment and service other than the merits of the particular
    Requests for Intervention and related proceedings. The Special Master shall engage in ex
    parte communications with the Claimant only for the purposes of discussing scheduling
    and logistical issues regarding the review of the Claim Data. The Special Master shall
    engage in ex parte communications with the Receivership Team only for the purposes of
    discussing scheduling, logistical issues and administrative matters, including, but not
    limited to, the payment of the Special Master’s fees. The Special Master shall be paid
    $450 per hour for the work he performs in his capacity as Special Master in this matter.
    The Special Master shall submit his bills to the Receiver for payment. Imposing the
    expenses of the Special Master on the Estate is fair and reasonable.

23. Class Counsel shall continue to serve until further order of the Court, but shall only be
    responsible for providing collective notice of the process for determining the Net Winnings
    of individual class members as described above. Class Counsel is authorized to
    communicate with the Net Winner Class by email as such means are the most efficient and
    cost-effective to accomplish his responsibilities. The Receiver has agreed to allow Garden
    City Group to assist Class Counsel and to pay the Garden City Group, subject to this
    Court’s approval, for the reasonable costs of necessary class communications. In the event
    there is a dispute regarding the reasonableness or cost of any Class Counsel communication
    that cannot be resolved between the Receiver and Class Counsel then the matter shall be
    submitted to the Court for decision prior to the communication being made.

24. The Receiver remains willing to consider voluntary settlements with Net Winner Class
    members and others against whom the Receiver has claims. To date, there have been
    numerous settlements approved by the Court in which net winners and the Receiver agreed
    on an amount to be repaid, often with payment terms that allowed the net winner to repay
    the agreed amount over a number of months. Notwithstanding the entry of summary
    judgment and the process described above, members of the Net Winner Class and the
    Receiver are still permitted to discuss settlement of the Receiver’s claims against them
    while the above-described process is pending.


25. The Receiver and Class Counsel are instructed to provide a copy of this order on their
    respective websites. Any member of the Net Winner Class or other interested person who
    objects to this Order must file such objection within 30 days of the date of its entry. The
    Court finds that there is no just cause to delay the implementation of the agreement
    reflected in this Order pending the objection period, but may revise or terminate this Order
    after review of any objections filed. However, any fees incurred by Class Counsel prior to
    modification of this Order shall be paid in accordance with the order.
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SO ORDERED.



                              Signed: January 27, 2017




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